Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 1 of 17 PageID 2279



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 PHELAN HOLDINGS, INC.,

        Plaintiff,

 v.                                                    CASE NO: 8:15-CV-2294-T-30TBM

 RARE HOSPITALITY MANAGEMENT,
 INC.,

       Defendant.
 ____________________________________/


                                          ORDER

        THIS CAUSE comes before the Court upon Defendant’s Motion for Summary

 Judgment (Dkt. 28), Plaintiff’s Response in Opposition (Dkt. 43), and Defendant’s Reply

 (Dkt. 48). Upon review of the motion, response, reply, record evidence, and being otherwise

 advised in the premises, the Court concludes that Defendant’s motion for summary judgment

 should be granted on all of Plaintiff’s claims.1

                                      BACKGROUND

        This is a trademark infringement action between two casual dining restaurants.

 Specifically, Plaintiff Phelan Holdings, Inc. alleges that Defendant RARE Hospitality

 Management, Inc.’s use of the slogan “You Can’t Fake Steak” in its advertising for its



        1
          Defendant’s Motions to Strike Plaintiff’s Experts Rhonda Harper and Bruce Silverman
 (Dkts. 33, 34) will be denied as moot because Harper’s and Silverman’s opinions and testimony
 do not create a genuine issue of fact for the jury.
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 2 of 17 PageID 2280



 LongHorn Steakhouse restaurant chain is confusingly similar to Phelan’s Pinchers Crab

 Shack’s restaurant’s slogan “You Can’t Fake Fresh,” to the extent that customer confusion

 regarding the source, sponsorship, or origin of the parties’ restaurants is likely to occur. The

 relevant undisputed facts follow.

        Plaintiff Phelan Holdings, Inc., a family-owned company, owns and operates Pinchers

 Crab Shack, a chain of twelve casual seafood restaurants located in Southwest Florida.

 Pinchers Crab Shack’s style and ambiance were designed to look like “an old seafood shack

 you’d find resting along the Gulf coast.” Pinchers Crab Shacks are bright, open air

 restaurants, painted in pastel colors. The walls are adorned with beachy, Florida-themed

 decorations, such as driftwood signs, mounted fish, large oars, and Caribbean artifacts.

        As its name suggests, Pinchers Crab Shacks are known as seafood restaurants.

 Approximately 70% of the food available on its menu is seafood, and its advertising focuses

 on its seafood offerings. The Pinchers Crab Shack chain is “obsessed” with the freshness of

 its seafood, and, in furtherance of that objective, Phelan obtained an ownership interest in

 fish purveyor Island Crab Company to supply fresh seafood to its restaurants. Phelan also

 operates a farm in Florida that supplies fresh vegetables to its restaurants.

        In 2004, Phelan developed the advertising slogan “You Can’t Fake Fresh” to make

 clear to consumers that the focus of Pinchers Crab Shacks is on the freshness of its food.

 Phelan registered the “You Can’t Fake Fresh” mark with the United States Patent and

 Trademark Office (USPTO) on February 16, 2010.



                                               -2-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 3 of 17 PageID 2281



        Pinchers Crab Shack uses its “You Can’t Fake Fresh” slogan in approximately 90%

 of its advertising, which consists primarily of billboards, print media, such as hotel pamphlets

 and newspapers, and online through Pinchers Crab Shack’s website and social media outlets.

 Pinchers also advertises on television and on the radio in Southwest Florida, but to a much

 lesser extent. In every advertisement that uses the “You Can’t Fake Fresh” slogan, the

 Pinchers Crab Shack name is also prominently displayed and/or mentioned. Pinchers Crab

 Shack’s customers are mostly tourists to the Southwest Florida region.

        LongHorn Steakhouse restaurants are a chain of Western-themed casual steakhouse

 restaurants owned and operated by Defendant RARE Hospitality Management, Inc., an

 Orlando-based subsidiary of Darden Restaurants, Inc. The first LongHorn Steakhouse

 opened in 1981 in Atlanta, Georgia, and currently there are over 481 LongHorn Steakhouse

 restaurants located in 41 states. LongHorn Steakhouses are typically large, stand-alone

 restaurants located in suburban areas, and patronized most frequently by locals.

        The first LongHorn was designed as a Texas-style roadhouse. The atmosphere was

 relaxed: peanuts were provided at each table, and typically peanut shells were thrown on the

 floor. As the LongHorn brand began to expand, RARE decided to transition its image from

 that of a “roadhouse” to that of a steakhouse with the look and feel of a rancher’s home. In

 that regard, LongHorn Steakhouses are designed using dark, warm colors, and “cowboy” art

 such as mounted skulls, spurs, and paintings of Western scenes. Its menu is still heavily

 focused on its steak offerings, which account for roughly 60-65% of its food sales.



                                               -3-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 4 of 17 PageID 2282



 LongHorn Steakhouse’s primary competitors are other casual steakhouses, with Texas

 Roadhouse and Outback Steakhouse being the chain’s biggest competition.

        In 2012, RARE started working with Grey Advertising to develop a new, bold

 marketing campaign for the brand. In those meetings, Grey first presented the slogan “You

 Can’t Fake Bold,” but through collaborative discussions RARE and Grey coined the slogan

 “You Can’t Fake Steak,” which was chosen as the new advertising campaign to portray the

 brand’s bold attitude. Thereafter in 2012, RARE started using the slogan “You Can’t Fake

 Steak” to promote its LongHorn Steakhouse restaurants. RARE submitted an application

 with the USPTO to federally register this mark on May 3, 2015, and was granted federal

 registration for the mark on August 4, 2015. LongHorn Steakhouse’s “You Can’t Fake

 Steak” mark is used primarily in television commercials, but also appears on the company’s

 website, social media posts, gift cards, coupons, and occasionally on billboards. In all of the

 advertisements that use the slogan “You Can’t Fake Steak,” the “LongHorn” name is also

 prominently displayed.

        On October 1, 2015, Phelan filed the instant lawsuit against RARE, asserting claims

 for: (1) Federal trademark infringement/unfair competition/false designation of origin/false

 description of fact; (2) trademark infringement/unfair competition/false designation of

 origin/false representation under Florida law; (3) violation of the FDUTPA; (4) injury to

 business reputation and dilution under Florida law; and (5) cancellation of RARE’s federally

 registered trademark for “You Can’t Fake Steak.”



                                               -4-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 5 of 17 PageID 2283



        The record is undisputed that there is no actual evidence of a consumer being

 confused by RARE’s use of “You Can’t Fake Steak” to promote its LongHorn Steakhouses

 in light of Phelan’s use of “You Can’t Fake Fresh” to promote its Pinchers Crab Shacks.

 And the Court notes the USPTO found that the parties’ marks were sufficiently dissimilar

 such that RARE’s “You Can’t Fake Steak” mark was granted a federal trademark registration

 even though Phelan’s “You Can’t Fake Fresh” mark was already federally registered.

        RARE now moves for summary judgment on all of Phelan’s infringement claims,

 asserting that the record is devoid of any evidence of a likelihood of consumer confusion.

 With respect to Phelan’s dilution claim, RARE contends that the record is bereft of any

 credible evidence that Plaintiff’s “You Can’t Fake Fresh” mark has achieved the level of

 notoriety necessary to sustain its dilution claim. The Court now turns to the relevant law.

                         SUMMARY JUDGMENT STANDARD

        Motions for summary judgment should be granted only when the pleadings,

 depositions, answers to interrogatories, and admissions on file, together with the affidavits,

 show there is no genuine issue as to any material fact and that the moving party is entitled

 to judgment as a matter of law. Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317,

 322 (1986). The existence of some factual disputes between the litigants will not defeat an

 otherwise properly supported summary judgment motion; “the requirement is that there be

 no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

 (1986) (emphasis in original). The substantive law applicable to the claimed causes of action

 will identify which facts are material. Id. Throughout this analysis, the court must examine

                                              -5-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 6 of 17 PageID 2284



 the evidence in the light most favorable to the non-movant and draw all justifiable inferences

 in its favor. Id. at 255.

        Once a party properly makes a summary judgment motion by demonstrating the

 absence of a genuine issue of material fact, whether or not accompanied by affidavits, the

 nonmoving party must go beyond the pleadings through the use of affidavits, depositions,

 answers to interrogatories and admissions on file, and designate specific facts showing that

 there is a genuine issue for trial. Celotex, 477 U.S. at 324. The evidence must be

 significantly probative to support the claims. Anderson, 477 U.S. at 248-49 (1986).

        This Court may not decide a genuine factual dispute at the summary judgment stage.

 Fernandez v. Bankers Nat’l Life Ins. Co., 906 F.2d 559, 564 (11th Cir. 1990). “[I]f factual

 issues are present, the Court must deny the motion and proceed to trial.” Warrior Tombigbee

 Transp. Co. v. M/V Nan Fung, 695 F.2d 1294, 1296 (11th Cir. 1983). A dispute about a

 material fact is genuine and summary judgment is inappropriate if the evidence is such that

 a reasonable jury could return a verdict for the nonmoving party. Anderson, 477 U.S. at 248;

 Hoffman v. Allied Corp., 912 F.2d 1379 (11th Cir. 1990). However, there must exist a

 conflict in substantial evidence to pose a jury question. Verbraeken v. Westinghouse Elec.

 Corp., 881 F.2d 1041, 1045 (11th Cir. 1989).

                                        DISCUSSION

 A.     Phelan’s Trademark Infringement Claims

        Phelan’s response to RARE’s summary judgment motion reflects that Phelan is

 dropping or abandoning any forward confusion claim and is asserting its trademark

                                              -6-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 7 of 17 PageID 2285



 infringement claims solely under a theory of reverse confusion.2 As such, the Court limits

 its analysis to a reverse confusion claim.3

        In a traditional infringement case, the plaintiff contends that the defendant adopted

 a confusingly similar mark in order to free-ride on the plaintiff’s goodwill and reputation.

 See Immuno Vital, Inc. v. Golden Sun, Inc., 49 F. Supp. 2d 1344, 1351-52 (S.D. Fla. 1997)

 (describing types of infringement). Here, Phelan is claiming “reverse confusion,” which

 occurs when a much larger defendant “saturates the market with a trademark similar or

 identical to that of a smaller, senior user.” Sands, Taylor & Wood Co. v. Quaker Oats Co.,

 978 F.2d 947, 957 (7th Cir. 1992). In reverse confusion, the mark’s rightful owner is injured

 because the public assumes that the owner is somehow affiliated with the larger company or

 that the owner is actually the infringer. Id. “The result is that the senior user loses the value

 of the trademark[.]” Id.

        Although it does not appear that the Eleventh Circuit has directly addressed reverse

 confusion, “the reverse confusion doctrine is presumed to apply in the Eleventh Circuit”

 under binding Fifth Circuit precedent. Immuno Vital, 49 F. Supp. 2d at 1352 (citing Capital

 Films Corp. v. Charles Fries Prod., Inc., 628 F.2d 387, 393 (5th Cir.1980)). Other circuits

 have recognized the doctrine of reverse confusion under the Lanham Act and state trademark

        2
          Indeed, throughout its response Phelan states that this is a case of reverse confusion and
 that “[n]o one confuses a LongHorn Steakhouse with Pinchers.” (Dkt. 43).
        3
            However, based on the Court’s review of the record evidence, RARE would be
 entitled to summary judgment in its favor on any forward confusion claim for the reasons stated
 in RARE’s motion (Dkt. 28).


                                                 -7-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 8 of 17 PageID 2286



 claims. See Stuart J. Kaufman, M.D. & Assocs., P.A. v. Bausch & Lomb Inc., No. 8:13-CV-

 461-T-33EAJ, 2013 WL 6154166, at *6-*7 (M.D. Fla. July 25, 2013), adopted by 2013 WL

 12123679 (M.D. Fla. Sep. 4, 2013) (citing cases).

        A plaintiff alleging a reverse confusion case must still establish a likelihood of

 confusion. See Uber Promotions, Inc. v. Uber Techs., Inc., 162 F. Supp. 3d 1253, 1265

 (N.D. Fla. 2016) (applying the Eleventh Circuit’s seven-factor test in a reverse confusion

 case). In the Eleventh Circuit, seven factors are analyzed to determine likelihood of

 confusion: (1) strength of the mark; (2) similarity of the marks; (3) similarity of the products

 associated with the marks; (4) similarity of the parties’ retail outlets and customers; (5)

 similarity of advertising methods; (6) defendant’s intent; and (7) actual confusion. See

 Caliber Auto. Liquidators, Inc. v. Premier Chrysler, Jeep, Dodge, LLC, 605 F.3d 931, 934-

 35 (11th Cir. 2010).4 “Of these [factors], the [strength] of mark and the evidence of actual

 confusion are the most important.” Aronowitz v. Health-Chem Corp., 513 F.3d 1229, 1239

 (11th Cir. 2008) (citation and quotation omitted).

        Assessing the likelihood of confusion requires “more than the mechanistic summation

 of the number of factors on each side[.]” Custom Mfg. & Eng’g, 508 F.3d at 649 (citations

 omitted). “Although likelihood of confusion is a question of fact, it may be decided as a

 matter of law.” Tana v. Dantanna’s, 611 F.3d 767, 775 (11th Cir. 2010). “And [the


        4
         Phelan’s state law claims for trademark infringement and unfair competition are
 governed by the same standard. See Custom Mfg & Eng’g, Inc. v. Midway Servs., Inc., 508 F.3d
 641, 652 (11th Cir. 2007) (citing Investacorp, Inc. v. Arabian Inv. Banking Corp., 931 F.2d
 1519, 1521 (11th Cir. 1991)).

                                               -8-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 9 of 17 PageID 2287



 Eleventh] circuit has routinely ‘weighed’ the likelihood-of-confusion factors on summary

 judgment.” Id. (citing Welding Servs., Inc. v. Forman, 509 F.3d 1351, 1361 (11th Cir. 2007)

 (explaining that “[o]verwhelming visual dissimilarity can defeat an infringement claim, even

 where the other six factors all weigh in favor of the plaintiff”) (emphasis added); Dippin’

 Dots, Inc. v. Frosty Bites Distrib., LLC, 369 F.3d 1197, 1208 & n. 12 (11th Cir. 2004)

 (holding that no reasonable jury could find that the two logos are confusingly similar because

 although “the second factor weighs in favor of FBD,” “the remaining six factors all weigh

 in favor of DDI,” and “the lack of visual similarity between the two designs is

 overwhelming”) (emphasis added)).

        “The likelihood-of-confusion multifactor test presupposes that various factors will

 point in opposing directions. The role of the court in reviewing a motion for summary

 judgment is to determine the ultimate question of whether, in light of the evidence as a

 whole, there is sufficient proof of a likelihood of confusion to warrant a trial of the issue.”

 Dantanna’s, 611 F.3d at 775.

        As detailed below, viewing the likelihood-of-confusion factors as a whole and in a

 light most favorable to Phelan, the non-movant, there is minimal evidence of a likelihood of

 confusion between Phelan’s and RARE’s slogans aside from the initial similarity of the buzz

 phrase “You Can’t Fake . . .” and the fact that they both provide casual restaurant services.

 Indeed, Phelan essentially concedes this point: “[n]o one confuses a LongHorn Steakhouse

 with a Pinchers.” (Dkt. 43). Phelan’s response largely argues that a determination of a



                                               -9-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 10 of 17 PageID 2288



 likelihood of customer confusion is an issue of fact for the jury to decide. Dantanna’s holds

 otherwise. The Court now addresses the seven factors.

        1.     The Strength of the Mark

        It is undisputed that Phelan’s “You Can’t Fake Fresh” mark has been in use for two

 decades. It has been registered since February 2010, and the mark is incontestable, which

 entitles it to “strong protection” under Eleventh Circuit precedent. See Caliber Auto.

 Liquidators, 605 F.3d at 939; see also Dieter v. B&H Indus. of S.W. Fla., 880 F.2d 322, 329

 (11th Cir. 1989) (noting that “incontestable” marks are “presumed to be at least descriptive

 with secondary meaning, and therefore [] relatively strong.”).

        RARE points to evidence establishing that the number of third-party uses of marks

 that include the phrase “You Can’t Fake . . .,” including slogans using these terms in the

 food/restaurant industry, discounts the strength of a least this portion of the mark. The Court

 agrees that these terms weaken the mark to a certain extent. However, in light of the mark’s

 presumptive strength, the Court concludes that this factor weighs in Phelan’s favor.

        2.     Similarity of the Marks

        “Similarity of appearance is determined on the basis of the total effect of the

 designation, rather than on a comparison of individual features.” Amstar Corp. v. Domino’s

 Pizza, Inc., 615 F.2d 252, 260-61 (5th Cir. 1980). A court “must also consider the

 commercial impression created by the mark as a whole.” Id. at 261 (collecting cases).

 “Stated differently, [i]n evaluating the similarity of marks, [the court] must consider the

 overall impression created by the marks, including a comparison of the appearance, sound

                                              -10-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 11 of 17 PageID 2289



 and meaning of the marks, as well as the manner in which they are displayed.” Wreal, LLC

 v. Amazon.com, Inc., No. 14-21385-CIV, 2015 WL 12550912, at *4 (S.D. Fla. Aug. 31,

 2015), aff’d, 840 F.3d 1244 (11th Cir. 2016) (internal citation and quotation omitted).

        Comparing the parties’ marks in their entirety, the Court concludes that this factor

 weighs slightly in Phelan’s favor. Both marks clearly incorporate the common buzz phrase

 “You Can’t Fake . . .,” however the last word of each mark, i.e., Fresh and Steak, is

 completely different with a different meaning. Moreover, the manner in which the parties’

 respective marks are used is different: customers do not encounter either the “You Can’t

 Fake Fresh” mark without also encountering the Pinchers mark, or the “You Can’t Fake

 Steak” mark without encountering the Longhorn mark. This lessens the likelihood of

 confusion.

        With respect to this factor, Phelan argues that its linguistics expert, Ronald Butters,

 provides evidence that demonstrates that this factor “overwhelmingly favors Phelan” because

 the marks are similar from a linguistic point of view (Dkt. 43). Butters opines that “there is

 relatively little phonological material by which speakers may distinguish the marks,” and

 explains how the marks are similar in sound and visually. But this analysis again primarily

 focuses on the first three words of the phrase, while ignoring the undisputed facts that the

 words “Fresh” and “Steak” are different and Phelan and RARE always provide their Pinchers

 and Longhorn marks (respectively) alongside the slogans. In other words, the “linguistic

 similarities” between the parties’ respective marks is not dispositive because the Court must

 view the commercial impression created by the marks as a whole.

                                             -11-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 12 of 17 PageID 2290



        The Court concludes that this factor just slightly tips in Phelan’s favor given the fact

 that the first three words of the slogan are the same.

        3.     Similarity of the Products Associated with the Marks

        Regarding the third factor, “[t]he greater the similarity between the products and

 services the greater the likelihood of confusion.” Ross Bicycles, Inc. v. Cycles USA, Inc., 765

 F.2d 1502, 1507 (11th Cir. 1985). In Dantanna’s, the Eleventh Circuit affirmed the district

 court’s grant of summary judgment in the defendant’s favor.5 With respect to this factor, the

 Eleventh Circuit noted that the parties’ goods and services were “strikingly dissimilar.” 611

 F.3d at 777-78 (stating that: “the only apparent commonality between the two restaurants is

 that they are both fine-dining establishments serving meat and fish.”).

        Here, as in Dantanna’s, the parties’ restaurants are similar only to the extent that they

 are both casual dining restaurants with a few overlapping menu items. Phelan’s Pinchers

 Crab Shacks are seafood restaurants and RARE markets its LongHorn Steakhouses as

 steakhouse restaurants. Pinchers Crab Shacks are “Florida style,” with a beachy decor and

 a pastel color palate. LongHorn Steakhouses have a rancher theme and are decorated with

 cowboy art and a warm color palate.

        In response, Phelan admits that “LongHorn Steakhouse restaurants do not look like

 Pinchers restaurants and have different atmospheres.” (Dkt. 43). Nonetheless, Phelan argues

 that this factor is immaterial because, in a reverse confusion case, the relevant inquiry is


        5
          Dantanna’s was a forward confusion case. However, the analysis is still helpful with
 respect to the Court’s application of the seven-factor test.

                                              -12-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 13 of 17 PageID 2291



 whether the products are the kind that the public attributes to a single source. Even assuming

 for the sake of argument that this is the correct inquiry, Phelan points to no record evidence

 establishing that the parties’ restaurants are the kind that the public would attribute to a single

 source. In other words, there is no evidence that a consumer hearing, seeing, or reading the

 two competing marks would believe that Pinchers Crab Shack and LongHorn Steakhouse are

 associated. To the contrary, the evidence reflects that the restaurants are completely different

 and Phelan’s only defense is to emphasize the three shared words in the parties’ slogans (i.e.,

 “You Can’t Fake . . .) to conclude that a customer listening to these slogans would assume

 that the parties’ restaurants are related in some fashion.

        Phelan’s defense essentially goes to the second factor, not the third. Indeed, under

 Phelan’s theory of reverse confusion, the inquiry would always weigh in its favor based on

 the marks’ similarity. This would render the other six factors moot, which goes against the

 Eleventh Circuit’s seven-factor test. Accordingly, the Court concludes that the third factor

 weighs strongly in favor of RARE because the two restaurants are “strikingly dissimilar.”

 Id. at 778.

        4.      Similarity of the Parties’ Retail Outlets and Customers

        The fourth factor considers “where, how, and to whom the parties’ products are sold.”

 Frehling Enters., Inc. v. Int’l Select Grp., Inc., 192 F.3d 1330, 1339 (11th Cir. 1999). The

 record reflects that Pinchers Crab Shack’s customers are tourists, while the majority of

 LongHorn Steakhouse restaurant’s customers are locals, which weighs against a finding of

 similarity. See e.g., Dantanna’s, 611 F.3d at 778 (two fine dining restaurants, one of which

                                                -13-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 14 of 17 PageID 2292



 catered to celebrities and another catering to sports enthusiasts, found to have dissimilar

 customers). However, the parties’ restaurants, unlike the restaurants in Dantanna’s, are

 geographically close, which weighs in favor of a finding of similarity to the extent that they

 broadly compete for casual diners in the same location. The Court concludes that this factor

 is neutral.

        5.     Similarity of Advertising Methods

        The record is undisputed that the majority of RARE’s use of its “You Can’t Fake

 Steak” mark to promote its LongHorn Steakhouse restaurants is through television

 commercial broadcast across most of the United States. In contrast, Phelan’s use of its “You

 Can’t Fake Fresh” mark to advertise Pinchers Crab Shack restaurants is primarily local,

 through billboard advertisements, hotel circulars, newspapers, and other print media.

 Phelan’s national advertising is done through an email listserve and online through social

 media. Phelan’s television advertising is limited to the Southwest Florida markets.

        The record is also undisputed that the parties’ websites are different and clearly relate

 to their respective restaurants, so that it would be clear to a consumer that the parties’

 restaurants are unrelated. The Court concludes that this factor favors RARE.

        6.     RARE’s Intent

        It is unclear in the Eleventh Circuit whether intent remains a relevant factor in a

 reverse confusion case. See Stuart J. Kaufman, M.D. & Assocs., P.A., 2013 WL 6154166,

 at *10 (“The standard for intent in reverse confusion cases is an open question in this

 circuit.”). The record is devoid of any evidence that RARE adopted its “You Can’t Fake

                                              -14-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 15 of 17 PageID 2293



 Steak” mark in bad faith. Thus, if intent remains relevant in reverse confusion cases, this

 factor weighs in RARE’s favor because there is no evidence that RARE acted in bad faith

 or with the intent to force Phelan out of business.

        7.      Actual Confusion

        The record is undisputed that Phelan cannot point to even one example of actual

 confusion. This factor, “actual confusion in the consuming public, is the most persuasive

 evidence in assessing likelihood of confusion.” Dantanna’s, 611 F.3d at 779. Phelan

 concedes that, despite four years of co-existence with widespread use of each parties’ mark,

 there has not been a single instance of consumer confusion.

        Phelan attempts to show that confusion is likely through a survey conducted by its

 survey expert, Rhonda Harper, who concluded that there was between 13% and 26%

 likelihood of confusion between the parties’ use of their respective slogans. Harper’s

 testimony and opinions, however, fail to create a genuine issue for the jury because Harper

 admitted that she did not test for reverse confusion. Curiously, although Phelan asserts only

 a reverse confusion claim, Harper testified that she tested for only forward confusion. Thus,

 nothing Harper presents is material to Phelan’s claim.6 This is significant because, in a

 reverse confusion case, it is appropriate to survey the senior user’s customer base. See Wreal

 LLC, 2015 WL 12550932, at *15 (“As is appropriate when testing reverse confusion, Dr.

 Sarel surveyed potential users of [the plaintiff’s] product”). As a forward confusion survey,


        6
           For these same reasons, Bullington’s testimony also fails to create a genuine issue for
 trial because, with respect to the element of confusion, Bullington relied on Harper’s survey.

                                                -15-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 16 of 17 PageID 2294



 Harper solicited responses from the junior user’s (RARE’s) customer base, i.e., local

 residents of the Southwest Florida market area. However, Phelan’s customer base, which

 should have been used, is comprised mostly of tourists to Southwest Florida, not residents

 of Southwest Florida.7 Accordingly, this factor weighs in RARE’s favor.

        In sum, based on the Court’s analysis of the seven factors, Phelan has failed to adduce

 sufficient evidence upon which a reasonable jury could find a likelihood of confusion

 between Phelan’s and RARE’s marks. Accordingly, RARE is entitled to summary judgment

 on all of Phelan’s trademark claims, which also entitles RARE to summary judgment on

 Phelan’s FDUTPA claim and Phelan’s claim seeking cancellation of RARE’s federal

 registration of its “You Can’t Fake Steak” mark.

 B.     Phelan’s Dilution Claim

        It appears that Phelan abandoned its Florida dilution claim because it failed to address

 this claim in its response. Nonetheless, this claim fails as a matter of law on the merits. With

 regard to dilution, Fla. Stat. § 495.151(1) “provides a cause of action for owners of marks

 that are ‘famous in [Florida]’ against defendants whose ‘use of a mark or trade name . . . is




        7
          Notably, if the Court were not granting summary judgment in RARE’s favor, the Court
 would have struck Harper’s survey under Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579
 (1993) as unreliable, misleading, and unhelpful because, among other things, she failed to test
 Phelan’s customer base. See Valador, Inc. v. HTC Corp., Case No. 1:16-cv-1162, 2017 WL
 1037589, at *6-*8 (E.D. Va. March 15, 2017) (excluding the plaintiff’s survey expert in a
 reverse confusion case whose survey “was plainly the incorrect universe for a reverse confusion
 case. Indeed, [the expert’s] surveying defendants’ audience for reverse confusion would be akin
 to the government’s counting heads in China for the U.S. Census. To obtain results pertinent to
 a reversion confusion claim, [the expert] should have surveyed [the plaintiff’s] customers . . .”).

                                                -16-
Case 8:15-cv-02294-JSM-TBM Document 55 Filed 03/27/17 Page 17 of 17 PageID 2295



 likely to cause dilution of the distinctive quality of the famous mark.’” Fla. Int’l Univ. Bd.

 of Trustees v. Fla. Nat’l Univ., Inc., 830 F.3d 1242, 1267 (11th Cir. 2016).

        Here, Phelan has not pointed to any evidence showing that its mark is sufficiently well

 known to sustain its dilution claim. To the contrary, Phelan now seems to argue that its mark

 is not well known. Accordingly, RARE is entitled to summary judgment on Phelan’s

 dilution claim.

        It is therefore ORDERED AND ADJUDGED that:

        1.     Defendant’s Motion for Summary Judgment (Dkt. 28) is granted.

        2.     The Clerk of Court is directed to enter final judgment in Defendant’s favor and

               against Plaintiff.

        3.     Defendant’s Motions to Strike (Dkts. 33, 34) are denied as moot.

        4.     After entry of judgment, the Clerk of Court is directed to close this case and

               terminate any pending motions as moot.

        DONE and ORDERED in Tampa, Florida on March 27, 2017.




 Copies furnished to:
 Counsel/Parties of Record




                                             -17-
